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         Exhibit 11
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         A data visualization showing different regions of brain in terms of electrical activity, gathered via EEG. NEWPORT BRAIN
         TREATMENT LAB


                              SCIENCE & TECH

            Zap: How Electric Therapy
            Is Curing Navy SEALs of
                      PTSD
               Hundreds of vets have tried out an
          experimental new treatment that could change
           how the world addresses mental disorders.
                       PATRICK TUCKER | JANUARY 20, 2019


                                     TECHNOLOGY




         Tony didn’t know what to expect when he
         walked into the Brain Treatment Center in San
         Diego, California, last spring. The former Navy
         SEAL only knew that he needed help. His
         service in Iraq and Afghanistan was taking a
         heavy toll on his mental and physical wellbeing.
         He had trouble concentrating, remembering,
         and was given to explosive bursts of anger. “If

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         somebody cut me off driving, I was ready to kill
         ’em at the drop of a hat,” he said. And after he
         got into a fistfight on the side of a California                              Get all our news and commentary
         road, his son looking on from the car, he
                                                                                       in your inbox at 6 a.m. ET.
         decided he was willing to try anything — even
         an experimental therapy that created an                                        Enter



         electromagnetic field around his brain.

         What Tony and several other former U.S.
         Special Operations Forces personnel received
         at the Newport Brain Research Laboratory,
         located at the Center, was a new treatment for
         brain disorders, one that might just
         revolutionize brain-based medicine. Though the
         FDA clinical trials to judge its efficacy and risks
         are ongoing, the technique could help humanity
         deal with a constellation of its most common
         mental disorders — depression, anxiety,
         aggressiveness, attention deficit, and others—
         and do so without drugs. And if its underpinning
         theory proves correct, it could be among the
         biggest breakthroughs in the treatment of
         mental health since the invention of the EEG a
         century ago.

         At the lab, Tony (whose name has been
         changed to protect his identity) met Dr. Erik
         Won, president and CEO of the Newport Brain
         Research Laboratory, the company that’s
         innovating Magnetic EEG/ECG-guided
         Resonant Therapy, or MeRT. Won’s team
         strapped cardiac sensors on Tony and placed
         an electroencephalography cap on his skull to
         measure his brain’s baseline electrical activity.
         Then came the actual therapy. Placing a
         flashlight-sized device by Tony’s skull, they
         induced an electromagnetic field that senta
         small burst of current to his brain. Over the
         course of 20 minutes, they moved the device


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         around his cranium, delivering jolts that, at their
         most aggressive, felt like a firm finger tapping.

         For Tony, MeRT’s effects were obvious and
         immediate. He walked out of the first session to
         a world made new. “Everything looked
         different,” he told me. “My bike looked super
         shiny.”

         He began to receive MeRT five times a week—
         each session lasting about an hour, with
         waiting room time — and quickly noticed a
         change in his energy. “I was super boosted,” he
         said. His mood changed as well.

         Today, he admits that he still has moments of
         frustration but says that anger is no longer his
         “go-to emotion.” He’s developed the ability to
         cope. He still wants help with his memory, but
         his life is very different. He’s taken up abstract
         painting and welding, two hobbies he had no
         interest in at all before the therapy. He’s put in
         a new kitchen. Most importantly, his sleep is
         very different: better.

         Tony’s experience was similar to those of five
         other special-operations veterans who spoke
         with Defense One. All took part in a double-
         blind randomized clinical trial that sought to
         determine how well MeRT treats Persistent
         Post-Concussion Symptoms and Post-
         Traumatic Stress Disorder, or PTSD. Five out
         of the six were former Navy SEALS.

         In many ways, SEALS represent the perfect
         test group for experimental brain treatment.
         They enter the service in superb health and
         then embark on a course of training that
         heightens mental and physical strength and
         alertness. Then comes their actual jobs, which
         involve a lot of “breaching”: getting into a place

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         that the enemy is trying to keep you out of. It
         could be a compound in Abbottabad, Pakistan
         —or every single door in that compound.
         Breaching is so central to SEAL work that it’s
         earned them the nickname “door kickers.” But it
         often involves not so much kicking as
         explosives at closer-than-comfortable range. “I
         got blown up a lot in training,” says Tony, and a
         lot afterwards as well. Put those two factors
         together and you have a population with a high
         functioning baseline but with a lot of incidents
         of persistent post-concussive syndrome, often
         on top of heavy combat-related PTSD and
         other forms of trauma.

         One by one, these former SEALs found their
         way to Won’s lab. One — let’s call him Bill —
         sought to cure his debilitating headaches.
         Another, Ted, a SEAL trainer, had no severe
         symptoms but wanted to see whether the
         therapy could improve his natural physical state
         and performance. A fourth, Jim, also a former
         SEAL, suffered from severe inability to
         concentrate, memory problems, and low affect,
         which was destroying his work performance. “I
         was forcing myself to act normal,” Jim said. “I
         didn’t feel like I was good at anything.”

         Yet another, a former member of the Air Force
         Security Forces named Cathy, had
         encountered blasts and a “constant sound of
         gunfire” during her deployments to Iraq and
         Afghanistan. She suffered from memory
         problems, depression, anger, bouts of
         confusion, and migraines so severe she had to
         build a darkroom in her house.

         Like Cathy, the rest had difficulty sleeping.
         Even Ted, who had no severe PTSD-related
         problems, reported that he “slept like crap,”

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         before the treatment began.

         All said that they saw big improvements after a
         course of therapy that ran five days a week for
         about four weeks. Bill reported that his
         headaches were gone, as did Cathy, who said
         her depression and mood disorders had
         lessened considerably. Jim’s memory and
         concentration improved so dramatically that he
         had begun pursuing a second master’s degree
         and won a spot on his college’s football team.
         Ted said he was feeling “20 years younger”
         physically and found himself better able to keep
         pace with the younger SEALS he was training.
         All of it, they say, was a result of small,
         precisely delivered, pops of electricity to the
         brain. Jim said the lab had also successfully
         treated back and limb pain by targeting the
         peripheral nervous system with the same
         technique.




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         Inside the Brain Treatment Center in San Diego, the location of the Newport Brain

         Research Lab, a wall displays paintings of patients who have undergone MeRT

         therapy, the tone, mood, and control in the paintings evolves as the patient continues

         through the treatment.



         Won, a former U.S. Navy Flight Surgeon, and
         his team have treated more than 650 veterans
         using MeRT. The walls of the lab are adorned
         with acrylic paintings from veterans who have
         sought treatment. The colors, themes, and
         objects in the paintings evolve, becoming
         brighter, more optimistic, some displaying
         greater motor control, as the painter
         progresses through the therapy.

         The lab is about one-third of the way through a
         double-blind clinical trial that may lead to FDA


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         approval, and so Won was guarded in what he
         could say about the results of their internal
         studies. But he said that his team had
         conducted a separate randomized trial on 86
         veterans. After two weeks, 40 percent saw
         changes in their symptoms; after four weeks,
         60 did, he said.

         “It’s certainly not a panacea,” said Won. “There
         are people with residual symptoms, people that
         struggle...I would say the responses are across
         the board. Some sleep better. Some would say,
         very transformative.” (Won doesn’t even
         categorize the treatment as "curing," as that
         has a very specific meaning in neurology and
         mental health, so much as "helping to treat.")

         Won believes the question might ultimately be
         not “Does MeRT work?” but “What therapies
         can it replace?”

         “I think, in the future, there will be a discussion
         about whether this should be first-line
         management. What can we do to address the
         functional issues at play? There’s a whole lot of
         science to do before we get there,” he said.

         Your Brain is Electric

         The idea that electricity, properly administered,
         could treat illness goes back to 1743 when a
         German physician named Johann Gottlob
         Kruger of the University of Halle successfully
         treated a harpsichordist with arthritis via
         electrical stimulation to the hand. John Wesley,
         the father of Methodism, also experimented
         with electricity as a therapeutic and declared it
         “The nearest an Universal medicine of any yet
         known in the world.”

         But the idea remained mostly an idea with no


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         real science to back it up, until the 20th
         century.

         Enter Hans Berger, a German scientist who
         wanted to show that human beings were
         capable of telepathy via an unseen force he
         referred to as “psychic energy.” He believed
         this energy derived from an invisible
         relationship between blood flow, metabolism,
         emotion, and the sensation of pain and thought
         that if he could find physical evidence that
         psychic energy existed, perhaps humanity
         could learn to control it.

         To test his theory, he needed a way to record
         the brain’s electrical activity.In 1924, he applied
         a galvanometer a tool originally built to
         measure the heart’s electrical activity, to the
         skull of a young brain-surgery patient. The
         galvanometer was essentially a string of silver-
         coated quartz filament flanked by magnets. The
         filament would move as it encountered
         electromagnetic activity, which could be
         graphed. Berger discovered that the brain
         produced electrical oscillations at varying
         strengths. He dubbed the larger ones, of 8 to
         12 Hz, the alpha waves, the smaller ones beta
         waves, and named the graphing of these
         waves an electroencephalogram, or EEG.

         Berger’s telepathy theories never panned out,
         but the EEG became a healthcare staple, used
         to detect abnormal brain activity, predict
         potential seizures, and more.

         The separate notion that electricity could be
         used to treat mental disorder entered wide
         medical practice with the invention of
         electroconvulsive therapy, or ECT, in Italy in
         the 1930s. ECT — more commonly called


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         shock therapy — used electricity to induce a
         seizure in the patient. Its use spread rapidly
         across psychiatry as it seemed to not only
         meliorate depression but also to temporarily
         pacify patients who suffered from psychosis
         and other disorders. Before long, doctors in
         mental institutions were prescribing it
         commonly to subdue troublesome patiets and
         even as a “cure” for homosexuality. The
         practice soon became associated with
         institutional cruelty.

         In the 1990s, a handful of researchers,
         independent of another, realized that electricity
         at much lower voltages could be used to help
         with motor function in Parkinson’s patients and
         as an aid for depression. But there was a big
         difference between their work and that of
         earlier practitioners of ECT: they used
         magnetic fields rather than jolts of electricity.
         This allowed them to activate brain regions
         without sending high currents through the skull.
         Seizures, it seemed, weren’t necessary.

         In 2008, researchers began to experiment with
         what was then called transcranial magnetic
         stimulation to treat PTSD. Since then, it’s been
         approved as a treatment for depression. Won
         and his colleagues don’t use it in the same way
         that doctors do when they’re looking for
         something simple and easy to spot, like
         potential signs of a seizure or head trauma.
         Won uses EEG/ECG biometrics to find the
         subject’s baseline frequency, essentially the
         “normal” state to return her or him to, and also
         to precisely target the areas of the brain that
         will respond to stimulation in the right way.

         YOU Have a Signature. Your Signature is
         YOU

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         No two people experience mental health
         disorders in the same way. Some PTSD
         sufferers have memory problems; others,
         depression; still others, uncontrollable anger.
         But people that are diagnosed with depression
         are more likely to suffer from another, separate
         mental health issue, such as anxiety, attention
         deficit, or something else.




         A data visualization of brain electrical activity mapped via EEG. Courtesy of the

         Newport Brain Research Lab



         The theory that underpins MeRT posits that
         many of these problems share a common
         origin: a person’s brain has lost the beat of its
         natural information-processing rhythm, what


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         Won calls the “dominant frequency.”

         Your dominant frequency is how many times
         per second your brain pulses alpha waves.
         “We’re all somewhere between 8 and 13 hertz.
         What that means is that we encode information
         8 to 13 times per second. You’re born with a
         signature. There are pros and cons to all of
         those. If you’re a slower thinker, you might be
         more creative. If you’re faster, you might be a
         better athlete,” Won says.

         Navy SEALS tend to have higher-than-average
         dominant frequencis, around 11 or 13 Hz. But
         physical and emotional trauma can disrupt that,
         causing the back of the brain and the front of
         the brain to emit electricity at different rates.
         The result: lopsided brain activity. MeRT seeks
         to detect arrhythmia, find out which regions are
         causing it, and nudge the off-kilter ones back
         onto the beat.

         “Let’s just say in the left dorsal lateral prefrontal
         cortex, towards the front left side of the brain, if
         that’s cycling at 2 hertz, where we are 3 or 4
         standard deviations below normal, you can
         pretty comfortably point to that and say that
         these neurons aren’t firing correctly. If we
         target that area and say, ‘We are going to
         nudge that area back to, say, 11 hertz,’ some
         of those symptoms may improve,” says Won.
         “In the converse scenario, in the right occipital
         parietal lobe where, if you’ve taken a hit, you
         may be cycling too fast. Let’s say it’s 30 hertz.
         You’re taking in too much information,
         oversampling your environment. And if you’re
         only able to process it using executive function
         11 times per second, that information overload
         might manifest as anxiety.”



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         If the theory behind MeRT is true, it could
         explain, at least partially, why a person may
         suffer from many mental-health symptoms:
         anxiety, depression, attention deficits, etc. The
         pharmaceutical industry treats them with
         separate drugs, but they all may have a similar
         cause, and thus be treatable with one
         treatment. That, anyway, is what Won’s
         preliminary results are suggesting.

         “You don’t see these type of outcomes with
         psychopharma or these other types of
         modalities, so it was pretty exciting,” he said.

         There are lots of transcranial direct stimulation
         therapies out there, with few results to boast of.
         What distinguishes MeRT from other attempts
         to treat mental disorders with electrical fields is
         the use of EEG as a guide. It’s the difference
         between trying to fix something with the aid of a
         manual versus just winging it.

         If the clinical trials bear out and the FDA
         approves of MeRT as an effective treatment for
         concussion and/or PTSD, many more people
         will try it. The dataset will grow, furthering the
         science. If that happens, the world will soon
         know whether or not there is a better
         therapeutic for mood and sleep disorders than
         drugs; and a huge portion of the
         pharmaceutical industry will wake up to earth-
         changing news.

         But there’s more. Won believes that MeRT may
         have uses for nominally healthy brains, such as
         improving attention, memory, and reaction
         time, as Ted discovered. It’s like the eyesight
         thing, the sudden, stark visual clarity. “These
         were unexpected findings, but we’re hearing it
         enough that we want to do more studies.”


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         Performance enhancement is “not something
         that we’re ardently chasing,” says Won. ”Our
         core team is about saving lives. But so many of
         our veterans are coming back asking.”

         Already, there’s evidence to suggest that it
         could work. “What we’ve noticed in
         computerized neuro-psych batteries is that
         reaction times improve. Complex cognitive
         processing tasks can improve both in terms of
         speed to decision and the number of times you
         are right versus wrong. Those are all things we
         want to quantify and measure with good
         science,” he says.

         What is one person’s therapy, in the years
         ahead, could be another person’s mental
         health regimen. Signs of that future are already
         here. Like so many strange portents, their
         origin is the tech field.

         More and more high-level executives, including
         at technology companies, are seeking him out,
         asking to be strapped in and zapped for a few
         weeks. “That’s been a recent evolution. There’s
         a company” — he declined to name it — “a lot
         of programmers, engineers, etc. … One of their
         C-suite members got treatment and was so
         blown away that they want all of their key team
         members to get it…They’re ruthlessly
         competitive…They want an edge.”

         So does the American military.


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